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 7

 8                       UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10 T.C,                              ) Case No. 23-cv-02225-JO-MMP
                                     )
11              Plaintiff,           ) DEFENDANTS CITY OF SAN
                                     ) DIEGO’S AND CITY ATTORNEY
12        v.                         ) MARA ELLIOTT’S BRIEF ON
                                     ) YOUNGER ABSTENTION
13   CITY OF SAN DIEGO, A PUBLIC     )
     ENTITY; CHIEF OF POLICE DAVE    ) Judge: Honorable Jinsook Ohta
14   NISLEIT, INDIVIDUALLY AND IN    ) Court Room: 4C
     HIS OFFICIAL CAPACITY, AS CHIEF ) Date: December 15, 2023
15   OF POLICE AT SDPD FOR CITY OF ) Time: 3:30 p.m.
     SAN DIEGO; MARA W. ELLIOTT,     )
16   INDIVIDUALLY AND IN HER         )
     OFFICIAL CAPACITY, AS CITY      )
17   ATTORNEY FOR CITY OF SAN        )
     DIEGO; JESSE ZALDIVAR,          )
18   INDIVIDUALLY AND IN HIS         )
     OFFICIAL CAPACITY, AS SDPD      )
19   INVESTIGATOR FOR CITY OF SAN )
     DIEGO; JOSHUA H. KAY,           )
20   INDIVIDUALLY AND IN HIS         )
     OFFICIAL CAPACITY, AS CITY      )
21   ATTORNEY FOR CITY OF SAN        )
     DIEGO; JEFFREY A. BROOKER,      )
22   INDIVIDUALLY AND IN HIS         )
     OFFICIAL CAPACITY, AS CITY      )
23   ATTORNEY FOR CITY OF SAN        )
     DIEGO; PATRICIA MIRANDA,        )
24   INDIVIDUALLY AND IN HER         )
     OFFICIAL CAPACITY, AS DEPUTY )
25   CITY ATTORNEY FOR CITY OF SAN )
     DIEGO; DOES 1 THROUGH 10,       )
26   INCLUSIVE,                      )
                                     )
27              Defendants.          )
                                     )
28
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 1                                  I.     INTRODUCTION
 2
              Defendants City of San Diego and City Attorney Mara Elliott (Defendants)
 3
     submit this Brief in compliance with this Court’s Order of December 6, 2023. The
 4
     Defendants were ordered to file on this date, December 13, 2023, briefing regarding
 5
     Plaintiff’s pending request for a preliminary injunction regarding the following: 1)
 6
     this Court’s authority and discretion to enjoin a state court proceeding, specifically
 7
     addressing Younger abstention, and 2) whether the Plaintiff meets the requirements
 8
     for a preliminary injunction. (ECF Doc. # 3), This Brief is supported by the
 9
     following: 1) Declaration of the undersigned counsel, George F. Schaefer
10
     (“Schaefer Decl.”); and 2) Defendants’ Request for Judicial Notice (RJN).
11
                              II.        PROCEDURAL HISTORY
12

13            Defendant City of San Diego’s, through its San Diego Police Department
14   (SDPD), filed an action against the Plaintiff under state law for a Gun Violence
15   Restraining Order (GVRO). The action is styled San Diego Police Department v.
16   T.C., San Diego Superior Court case number 37-2021-00032486-CU-PT-CTL. The
17   San Diego Registrar of Actions (ROA) for this case sets forth in detail the
18   comprehensive history of this GVRO case. (Ex. 1, Defendants’ RJN). The GRVO
19   action commenced on July 30, 2021, and has been pending for 866 days. As the
20   ROA reflects, the SDPD filed the GVRO petition under seal. It is the understanding
21   of the undersigned counsel that the GVRO petition remains under seal because
22   Plaintiff adamantly objects to unsealing it.
23            The Superior Court set a hearing in the GVRO case for December 6, 2023;
24   however, Plaintiff’s counsel failed to appear for the hearing and instead filed on
25   that day the Plaintiff’s Complaint and Request for Preliminary Injunction in this
26   case (ECF Docs. 1 & 1-2). The failure of Plaintiff’s counsel to show up in the
27   GVRO case forced the Superior Court to continue the hearing to January 3, 2023.
28   (Ex. 2, Defendants’ RJN).
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 1            Unfortunately, Plaintiff has only served a Summons in this case on the City
 2   and City Attorney. The remaining Defendants have not been properly served and
 3   presumably therefore not appear in this case. (Schaefer Decl. ¶s 4-9; Defendants’
 4   RJN, Ex. 3).
 5                                      III.   ARGUMENT
 6            As previously noted, this Court requested the parties to brief two issues: 1)
 7   this Court’s authority and discretion to enjoin a state court proceeding, specifically
 8   addressing Younger abstention, and 2) whether the Plaintiff meets the requirements
 9   for a preliminary injunction. (ECF Doc. # 3). The Defendants address both of these
10   issues separately below following a summary of Plaintiff’s Complaint in this case.
11                                 A.      Plaintiff’s Complaint
12             Plaintiff’s Complaint, which includes eight claims against one or more of the
13   Defendants, is based upon what has transpired in the pending GVRO case in the
14   San Diego Superior Court. In his first claim, he seeks equitable relief under 42
15   U.S.C. section 1983 though a court order enjoining the City from further alleged
16   due process violations stemming from an alleged settlement agreement of the
17   GVRO case, including an order enjoining further proceedings in the GVRO case,
18   He contends the Superior Court has lost all jurisdiction and the assigned judge is
19   not impartial or unbiased. (Complaint at ¶s 65-66). He also seeks declaratory and
20   injunctive relief consisting of removal of “any damaging information under seal” in
21   the pending GVRO case. (Id. at ¶ 67).
22            In the second claim, Plaintiff seeks compensatory and punitive damages
23   under 42 U.S.C. section 1983 for alleged violations of his Fourth and Fourteenth
24   Amendment rights. (Id. at ¶s 74-77). The alleged violation of constitutional rights is
25   based on a laundry list of Plaintiff’s grievances for what transpired in the GVRO
26   case and a related appeal of an adverse Anti-Slapp decision. (Id. at ¶ 73). Listed in
27   the catalogue of grievances are alleged discovery violations and alleged ex parte
28   communications by the Defendants with the assigned trial judge. (Id.)
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 1            In the third claim, Plaintiff also seeks compensatory and punitive damages
 2   against all Defendants for alleged selective enforcement of the GVRO law against
 3   him in violation of the Equal Protection Clause of the Fourteenth Amendment. (Id.
 4   at ¶s 79-80). He vaguely asserts that he was retaliated against for hiring counsel
 5   since most GVRO respondents are unrepresented. (Id. at ¶ 81).
 6            In the fourth claim, Plaintiff alleges the Defendants retaliated against him for
 7   exercising his First Amendment rights of bringing an unsuccessful Anti-Slapp
 8   motion in the GVRO case. (Id. at ¶ 85). The Anti-Slapp motion allegedly related to
 9   Plaintiff’s private social media speech. (Id). Plaintiff asserts the Defendants
10   convinced him to dismiss his appeal of an adverse Anti-Slapp decision in the
11   GVRO and then retaliated against him by violating the terms of settlement
12   agreement in which he agreed to the dismissal in return for the City not seeking a 5-
13   year GVRO injunction. (Id. at ¶ 91).
14            In his fifth claim, Plaintiff asserts a section 1983 violation under a Second
15   Amendment theory. The Complaint states, “[T]he City’s improper bad faith was
16   intended to permanently ban his constitutional rights to defend himself in his
17   home.” (Id. at ¶ 96, lines 22-23).
18            Plaintiff’s six and seventh claims for relief are purely state law claims filed
19   only against the City for alleged breach of the above-mentioned settlement
20   agreement, in which Plaintiff dismissed his appeal of an adverse Anti-Slapp
21   decision. Plaintiff asserts there was also a breach of the covenant of good faith and
22   fair dealing.
23            And last, Plaintiff in his eighth claim seeks compensatory and punitive
24   damages against all Defendants for intentional infliction of emotional distress.
25   Plaintiff asserts the alleged conduct violated his fundamental civil rights and “will
26   continue to cause him emotional distress in the future if the state court that lacks
27   jurisdiction grants the permanent GVRO.” (Id. at ¶ 110, lines 8-10).
28   ///
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 1                                 B.      Younger Abstention
 2             In Younger v. Harris, 401 U.S. 37, 41 (1971), the United States Supreme
 3   Court reversed an injunction against a California District Attorney in which the
 4   District Attorney was enjoined from prosecuting an individual who was indicated
 5   for violation of the California Penal Code. In reversing the injunction, the Court
 6   recognized that there is a national policy forbidding federal courts from staying or
 7   enjoining pending state court proceedings except under special circumstances. The
 8   Court noted that this policy avoids duplication of legal proceedings and legal
 9   sanctions where a single suit would be adequate to protect the rights asserted. Id. at
10   44. The policy is reinforced by the notion of comity—the proper respect for state
11   functions. Id.
12            Following the Younger decision, courts have identified important
13   characteristics for recognizing a civil proceeding that resembles a criminal
14   prosecution such that the Younger abstention doctrine applies. In Minnesota Living
15   Assistance, Inc. v. Peterson, 899 F.3d 548 (8th Cir. 2018), the appellate court noted
16   that Younger is only applicable where the state court proceeding qualifies as: 1) a
17   criminal prosecution; 2) a civil enforcement proceeding that is akin to a criminal
18   prosecution, or 3) a proceeding implicating a state’s interest in enforcing the orders
19   and judgments of its courts. Id. at 552, citing Sprint Commc’ns, Inc. v. Jacobs, 571
20   U.S. 69, 79-80 (2013).
21            The Ninth Circuit has also articulated a three-part test in determining when a
22   federal court must abstain to avoid interference in a state court civil action. In M&A
23   Gabaee v. Community Redevelopment Agency of City, 419 F.3d 1036, 1039 (9th Cir.
24   2005), this three-part test is as follows; 1) the proceedings must implicate important
25   state interests; 2) there must be ongoing state proceedings; and 3) the federal
26   plaintiff must be able to litigate it federal claims in the state proceedings. See also
27   Communications Telesystems Intern. v. California Public Utility, 196 F.3d 1011,
28   1015 (9th Cir. 1999). The federal plaintiffs bear the burden of showing that state
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 1   procedural law barred presentation of their federal claims. Nimer v. Litchfield Tp.
 2   Bd. of Trustees, 707 F.3d 699, 701 (2013) citing Moore v. Sims, 442 U.S. 415, 430
 3   (1979).
 4             This case meets the Younger test for abstention. The state court proceedings,
 5   which began in 2021, are ongoing—in fact the next court hearing is set for January
 6   3. The Plaintiff will not be able to meet his burden of showing that there is a state
 7   procedural bar preventing him from presenting his federal claims in state court
 8   because no such bar exists. In fact, Plaintiff’s alleged violations of federally
 9   protected rights appear to be grounded in his claim that that the Superior Court in
10   the GVRO case lacks jurisdiction to issue an order enjoining Plaintiff from
11   possessing firearms for five years. If the Superior Court lacks such jurisdiction,
12   Plaintiff was afforded the opportunity under California law to file a writ of
13   prohibition. See Cal. Code Civ. Proc. § 1102.
14            And last, there can be no question that the GVRO proceeding, which is
15   brought under California Penal Code sections 18100-18200, is quasi-criminal in
16   nature and implicates important state interests. This law sets forth policies and
17   standards that encourages law enforcement officers to seek gun violence restraining
18   orders in appropriate situations to prevent future violence involving a firearm. Cal.
19   Penal Code § 18108 (b). The policies and standards under the law are also designed
20   to prevent access to firearms by persons who, due to mental health issues, pose a
21   danger to themselves or to others by owning or possession a firearm.
22   Cal. Penal Code § 18108 (c). Given the dangers posed by firearms in the wrong
23   hands, this law implicates extremely important state interests.
24                      C.    Requirements for a Preliminary Injunction
25            Plaintiff seeks a preliminary injunction “barring the City Defendants from
26   attempting to obtain a permanent injunction in the San Diego Superior Court that
27   lacks personal and subject matter jurisdiction over him and the case.” (Complaint at
28   ¶ 16). In order to pursue this extraordinary remedy, the Plaintiff, as the moving
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 1   party, must establish the following: 1) the likelihood of success of success on the
 2   merits; 2) the likelihood of irreparable harm in the absence of preliminary relief; 3)
 3   that the balance of equities tips in his favor; and 4) that an injunction is in the
 4   public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
 5            Putting aside the issue of whether the Plaintiff’s lawsuit must be dismissed
 6   on Younger abstention grounds, Plaintiff has not established how he is likely to
 7   succeed in this federal lawsuit. He filed a Complaint filled with allegations of
 8   misconduct by the Defendants and assigned Superior Court state judge but has not
 9   presented any evidence that would warrant a preliminary injunction, such as
10   transcripts of the GVRO hearings and the pleadings, including the GVRO petition
11   and relevant discovery evidence he complains about. The Defendants acknowledge
12   that the Plaintiff demands that the certain documents remain under seal in state
13   court to protect his privacy and reputation; however, the Plaintiff had the option of
14   requesting leave from this Court to file those same documents under seal in this
15   case in order to support his motion for a preliminary injunction. His concern over
16   his privacy and reputation does relieve him of his burden to present evidence
17   supporting his motion for a preliminary injunction.
18            Second, Plaintiff cannot show the likelihood of irreparable harm. As
19   previously noted, if the Superior Court lacks personal or subject matter jurisdiction,
20   he has appellate remedies available to him under state law. And, at this point, it is
21   only speculation that the Superior Court will ultimately restrain him from
22   possessing a gun for an additional lengthy period.
23            Third, the balance of equities is not in Plaintiff’s favor. The Plaintiff’s
24   GVRO case has been pending for 866 days, yet only now, apparently sensing he is
25   going to lose again in state court, is he seeking a preliminary injunction. If the state
26   court lacked jurisdiction over the Plaintiff for the last 866 days, why is Plaintiff just
27   now seeking a permanent injunction?
28   ///
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 1            Last, clearly an injunction is not in the public interest. The state court GVRO
 2   proceedings are intended to ensure that the public is protected from persons who
 3   pose a danger to themselves or others from having a firearm. A preliminary
 4   injunction would remove this vital public safety measure and potentially endanger
 5   the public.
 6                                      IV.   CONCLUSION
 7            On Younger abstention grounds, this Court should dismiss Plaintiff’s case for
 8   reasons stated, including the fact that Plaintiff is seeking to enjoin a quasi-criminal
 9   state court proceeding.
10            Dated: December 13, 2023             MARA W. ELLIOTT, City Attorney
11

12                                                By    /s/ George F. Schaefer
13                                                     George F. Schaefer
                                                       Senior Deputy City Attorney
14                                                     GFSchaefer@sandiego.gov
                                                  Attorneys for Defendant CITY OF
15                                                SAN DIEGO
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